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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION


JOSEPH WILLIAMS, et al.,  }
                          }
        Plaintiffs,       }
                          }
v.                        }                 Case No.: 1:17-cv-1894-ACA
                          }
NATIONSTAR MORTGAGE, LLC, }
et al.,                   }
                          }
        Defendants.


                                    ORDER

      In accordance with the Joint Stipulation of Dismissal (Doc. 27), filed March

22, 2019, the court hereby ORDERS that this action shall be, and is, DISMISSED

WITH PREJUDICE. The parties are to bear their own costs, expenses, and

attorney’s fees.

             DONE and ORDERED this March 25, 2019.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE
